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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

ATEL LEASING CORPORATION,

                           Plaintiff,
                                                            ORDER OF DISMISSAL
             - against -
                                                                20 Civ. 7556 (PGG)
CHIQUITA BRANDS, LLC, and
CHIQUITA BRANDS INTERNATIONAL,
INC.,

                           Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

               The Court having been advised that all claims asserted herein have been settled, it

is ORDERED that the above-entitled action be, and hereby is, dismissed with prejudice but

without costs; provided, however, that if the settlement is not consummated within sixty days of

this order, either party may apply by letter within the sixty-day period for restoration of the

action to the calendar of the undersigned, in which event the action will be restored. The Clerk

of the Court is directed to close the case. Any pending dates and deadlines are adjourned sine

die, and any pending motions are moot.

Dated: New York, New York
       January 12, 2021
